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                          IN THE UNITED STATES DISTRICT COURT
                           FOR WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

 1240 S. BANNOCK, LLC,
 Colorado limited liability corporation,

                 Plaintiff,                     Case No. 2:21-cv-00183

 v.                                             Hon. Paul L. Maloney

 DENNIS SIEM, DONALD J. NERAT,
 STEVEN A. NERAT, COLDWELL
 BANKER REAL ESTATE GROUP,
 BAY TITLE & ABSTRACT, INC.

                 Defendants.

                    STIPULATION AND ORDER FOR DISMISSAL OF
                   BAY TITLE & ABSTRACT, INC. WITH PREJUDICE

                This matter having come before the Court pursuant to the stipulation between 1240

S. Bannock, LLC and Bay Title & Abstract, Inc., and the Court being otherwise fully advised in

the premises;

                Whereas Plaintiff 1240 S. Bannock, LLC and Defendant Bay Title Abstract, Inc.

have settled the dispute between them and have agreed to a dismissal of Bay Title & Abstract, Inc.

with prejudice and without costs to either party;

                IT IS ORDERED that Bay Title & Abstract, Inc. is dismissed from this case with

prejudice and without costs to either Bay Title & Abstract, Inc. or 1240 S. Bannock, LLC. The

Court reserves jurisdiction to enforce the parties’ settlement agreement.



Dated: _________________
        October 4, 2021                                /s/ Paul L. Maloney
                                                     HON. PAUL L. MALONEY
                                                     District Court Judge
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 MILLER JOHNSON                          KENDRICKS, BORDEAU, KEEFE, SEAVOY &
 Attorneys for Plaintiff                 LARSEN, P.C.
                                         Attorneys for Bay Title & Abstract, Inc.


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Dated: September 28, 2021                Dated: September 28, 2021




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